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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                       Chapter 11

    LUMIO HOLDINGS, INC., et al.,1                               Case No. 24- 11916 (___)

                             Debtors.                            (Joint Administration Requested)


              DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
             (I) AUTHORIZING THE DEBTORS TO MAINTAIN THEIR CUSTOMER
                  PROGRAMS AND HONOR CUSTOMER OBLIGATIONS, AND
                            (II) GRANTING RELATED RELIEF

                   The above-captioned debtors and debtors in possession (the “Debtors”) respectfully

move (this “Motion”) as follows:

                                            RELIEF REQUESTED

                   1.       The Debtors request entry of interim and final orders, substantially in the

forms attached hereto as Exhibit A (the “Interim Order”) and Exhibit B (the “Final Order): (i)

authorizing the Debtors, in their sole discretion, to (a) maintain and administer certain prepetition

customer programs (the “Customer Programs”) and honor all customer obligations (the “Customer

Obligations”) in the ordinary course of business and in a manner consistent with past practice and

(b) renew, replace, implement, modify or terminate Customer Programs as the Debtors deem

appropriate in their business judgment, in the ordinary course of business and consistent with past

practice, without further order of the Court; and (ii) granting certain related relief, including

scheduling the Final Hearing.




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      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
      number, are Lumio Holdings, Inc. (7119) and Lumio HX, Inc. (7401). The Debtors’ headquarters is located at
      1550 W Digital Drive, Suite 200, Lehi, UT 84043.
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                                 JURISDICTION AND VENUE

               2.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§

157 and 1334, and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware dated as of February 29, 2012. This is a core proceeding under 28

U.S.C. § 157(b). Venue of these cases and the Motion is proper before this Court pursuant to 28

U.S.C. §§ 1408 and 1409.

               3.      The Debtors consent pursuant to rule 9013-1(f) of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”) to the entry of a final order by the Court in connection with this

Motion to the extent that it is later determined that the Court, absent consent of the parties, cannot

enter final orders or judgments in connection herewith consistent with Article III of the United

States Constitution.

               4.      The statutory bases for the relief requested herein are sections 105(a),

363(b), 1107(a) and 1108 of title 11 of the United States Code (as amended, the “Bankruptcy

Code”), rules 6003 and 6004(h) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) and Local Rule 9013-1(m).

                                         BACKGROUND

               5.      On September 3, 2024 (the “Petition Date”), the Debtors filed voluntary

petitions for relief under chapter 11 of the Bankruptcy Code in this Court. The Debtors continue

to manage their assets as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No trustee, examiner, or official committee has been appointed in these cases.

               6.      The Debtors are the largest privately held residential solar provider that is

fully vertically integrated with a full suite of photovoltaic solar system sales, installation and



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operations. The Debtors’ fully integrated model allows them to control every interaction with their

customers to ensure superior service.

               7.     Additional details regarding the Debtors, their businesses, the events

leading to the commencement of these cases, and the facts and circumstances supporting the relief

requested herein is set forth in the Declaration of Jeffrey T. Varsalone in Support of Chapter 11

Petitions and First Day Relief (the “First Day Declaration”), filed concurrently herewith and

incorporated herein by reference.

                           DEBTORS’ CUSTOMER PROGRAMS

               8.     The Debtors are a leading seller and installer of residential solar energy

systems that are designed to produce electricity from the radiant light and heat generated from the

Sun. The Debtors excel in providing local and authentic expertise coupled with the added

advantage of having the resources of a national company.

               9.     In the ordinary course of their business, the Debtors engage in a number of

practices to develop, support, and sustain a positive reputation with the Debtors’ customers (each,

a “Customer” and collectively, the “Customers”) and in the marketplace generally. The viability

and success of the Debtors’ business depends on these Customer relationships which the Debtors

have worked tirelessly to maintain. Because the Customer Programs are an essential component

of the Debtors’ ongoing operations and Customer-retention strategy, continuing to honor the

Customer Programs described below—including certain prepetition obligations arising

thereunder—is necessary to maximize the value of the Debtors’ estates and benefit all creditors

and stakeholders in these chapter 11 cases (these “Chapter 11 Cases”). Moreover, the Customer

Programs generally represent practices that are common in the industry and, therefore, if the

Debtors do not continue the Customer Programs, they will be at a disadvantage in a competitive

marketplace. On average, the Debtors estimate that they pay approximately $1,800,000 annually
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on account of Customer Programs. By this Motion, the Debtors are seeking authority to pay up to

$335,000 on account of prepetition obligations owed pursuant to the Customer Programs, all of

which the Debtors expect will come due during the interim period.

                 10.      The Debtors believe it is essential to continue the Customer Programs

because they allow the Debtors to preserve goodwill with existing Customers and attract new

customers. The success of the Debtors’ business hinges on the Debtors’ relationship with their

Customers. Ultimately, the Debtors believe that it is in the best interest of their estates to continue

to honor the Customer Programs to maintain the productive relationships the Debtors have

cultivated with their Customers, without the benefit of which, the Debtors’ business, and ultimately

the outcome of these Chapter 11 Cases, would be irreparably harmed. The following are general

descriptions and examples of the Debtors’ Customer Programs2:

      I.         The Warranty Program

                 11.      Consistent with industry standards, the Debtors provide their Customers

with limited warranties in connection with the work associated with the installation of residential

solar energy systems (the “Warranty Program”). Initially, the Warranty Program varied depending

if the installation was on a standard or non-standard roof.3 On a non-standard roof, the Debtors

provided a ten (10) year warranty covering material defects caused by the Debtors in workmanship

(the “Workmanship Warranty”) and roof leaks for a period of twelve (12) months. The Warranty

Program for standard roofs consisted of the Workmanship Warranty and watertight installation for

any penetration of the roof for a period of ten (10) years. For approximately the last year and a



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    The Debtors also provide customers with the ability to prepay for the future expense of having the solar panels
    reinstalled after having a new roof installed (the “Customer Prepaids Program”). Currently, there are only 28
    participants in the Customer Prepaids Program. The Debtors also seek authority to continue the Customer
    Prepaids Program.
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    A non-standard roof was defined as “tar-and-gravel, built-up, or stone coated steel roofs.”
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half, the Warranty Program consists only of a warranty period of twelve (12) months. The Debtors

incur approximately $160,000 in liabilities in connection with claims under Warranty Program

each month.

               12.     Upon submission of a claim under the Warranty Program, the Debtors may

repair or replace the defective product or damage caused by installation of the solar panels. The

Debtors’ business relies upon their reputation and goodwill within the solar industry to attract new

customers. If the Debtors fail to honor their obligations under the Warranty Program during these

Chapter 11 Cases, Customers may not recommend the Debtors’ services and products to others,

damaging the Debtors’ reputation and negatively affecting sales. By this Motion, the Debtors seek

authority to maintain the Warranty Program in a manner consistent with their past practices and

honor all related Customer Obligations in the ordinary course of business.

     II.       Refunds to FinCos

               13.     Customers of the Debtors who wish to purchase their solar panels may

finance the residential installation of the panels through certain companies that provide financing

services on behalf of the Debtors (the “FinCos”). When a Customer enters into a financing

agreement (each an “Agreement”) with one of the FinCos, that FinCo advances the Debtors an

upfront payment (the “Prepayment”) toward the installation. However, on average, thirty percent

of the Agreements fail to proceed through to installation. When this occurs, the FinCos are entitled

to “claw back” the Prepayments from the Debtors.             On average, the FinCos claw back

approximately $500,000 each month in Prepayments.

               14.     The FinCos are an integral part of the Debtors’ business operations.

Without the ability to offer financing to their customers through the FinCos, the Debtors’ sales

volume would decrease dramatically. Such a result would jeopardize the Debtors’ ability to


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continue operations and maximize value for their estates and stakeholders. Accordingly, the

Debtors seek authorization to continue the financing arrangements with the FinCos, including the

payment of the Prepayments, in a manner consistent with their past practices in the ordinary course

of business.

    III.       Customer Rebate Program

               15.    The Debtors provide certain customers with rebates (the “Rebate

Program”), with the applicable rebate varying from customer to customer and order to order. The

Debtors provide these rebates to show customer appreciation or as remediation for various issues

associated with installation. The Debtors seek authorization to maintain the Rebate Program in a

manner consistent with their past practices and to honor all related customer obligations with

respect to the Rebate Program in the ordinary course of business. Without the ability to continue

offering the Rebate Program, certain customers may be unwilling to transact with the Debtors,

which could lead to a decline in revenues, the ultimate cost of which would be borne by the

Debtors’ estates. As of the Petition Date, the Debtors approximate that $50,000 is owed on account

of the Rebate Program.

    IV.        Promotions.

               16.    The Debtors also allow employees within their sales department to offer

various customer promotions (the “Promotions”). The Promotions may consist of discounts or

promotions on eligible products and services. The Debtors believe that the Promotions encourage

sales and enable the Debtors to better market their products and services. Without the ability to

offer the Promotions, the Debtors could lose Customers to lower-priced competitors, resulting in

much greater financial losses than the risk of offering discounts. As of the Petition Date, the

Debtors do not believe there are any amounts due and owing on account of the Promotions. The


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Debtors seek the authority to maintain or implement the Promotions in the ordinary course of

business and to honor their obligations related thereto on a postpetition basis.

               17.     Accordingly, the Debtors request authorization to pay any prepetition

amounts owed on account of the Customer Programs in the ordinary course of business to avoid

damaging customer relationships and to continue the Customer Programs on a postpetition basis

in the ordinary course of business and consistent with their prepetition practices.

                              BASIS FOR RELIEF REQUESTED

       I.      The Customer Programs are Ordinary Course Transactions Authorized by
               Section 363(c) of the Bankruptcy Code.

               18.     As an initial matter, the Debtors believe that continuing to honor their

obligations related to the Customer Programs is within the Debtors’ ordinary course of business.

Sections 1107(a) and 1108 of the Bankruptcy Code allow a debtor in possession to continue to

operate its business. Further, section 363(c)(1) of the Bankruptcy Code, authorizes a debtor in

possession to “use property of the estate in the ordinary course of business without notice or a

hearing.” The purpose of section 363(c)(1) is to provide debtors with the flexibility to engage in

ordinary transactions required to operate their business without unnecessary oversight by the court

or their creditors. See In re Roth Am., Inc., 975 F.2d 949, 952 (3d Cir. 1992) (“Section 363 is

designed to strike [a] balance, allowing a business to continue its daily operations without

excessive court or creditor oversight and protecting secured creditors and others from dissipation

of the estate’s assets.”) (citations omitted); Med. Malpractice Ins. Ass’n v. Hirsch (In re Lavigne),

114 F.3d 379, 384 (2d Cir. 1997); Chaney v. Off. Comm. of Unsecured Creditors of Crystal

Apparel, Inc. (In re Crystal Apparel, Inc.), 207 B.R. 406, 409 (Bankr. S.D.N.Y. 1997).

               19.     The Customer Programs are the type of ordinary course transactions

contemplated by section 363(c)(1). The Customer Programs represent a key component of the


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Debtors’ business and allow the Debtors to attract and maintain Customers. Indeed, the Customer

Programs are standard practice in the solar energy installation industry, and the Customers expect

to participate in these types of programs. Absent being able to continue the Customer Programs

in the ordinary course of business as they had done prior to the Petition Date, the Debtors’ goodwill

with their customers that is necessary to maintain the going-concern value of the business would

be materially harmed. Therefore, continuing, renewing, replacing, initiating, and/or terminating

Customer Programs falls well within the scope of activities that sections 363(c), 1107(a), and 1108

of the Bankruptcy Code and does not require notice and a hearing. Nonetheless, the Debtors seek

authorization to continue to maintain the Customer Programs out of an abundance of caution.

     II.       Continuing to Honor the Customer Programs Is Warranted Under Sections
               105(a), 363(b) and 507(a)(7) of the Bankruptcy Code.

               20.     The Court may also authorize the continuation of the Customer Programs,

other than in the ordinary course of business, under section 363(b) of the Bankruptcy Code, which

provides that “[t]he trustee, after notice and a hearing, may use, sell, or lease, other than in the

ordinary course of business, property of the estate.” 11 U.S.C. § 363(b)(1). This section authorizes

a court to allow a debtor to satisfy certain prepetition claims. To do so, the Debtors “must articulate

some business justification, other than the mere appeasement of major creditors.” In re Ionosphere

Clubs, 98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989).

               21.     Section 105(a) of the Bankruptcy Code provides an additional basis to grant

the requested relief. It authorizes a court to issue “any order, process, or judgment that is necessary

or appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a).

Specifically, the Court may use its power under section 105(a) of the Bankruptcy Code to authorize

payment of prepetition obligations pursuant to the “necessity of payment” rule (also referred to as

the “doctrine of necessity”).

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               22.     The well-established “necessity of payment” has been recognized by the

Third Circuit Court of Appeals in In re Lehigh & New England Ry. Co., 657 F.2d 570, 581 (3d

Cir. 1981). That doctrine provides for payment of prepetition claims as necessary to maintain the

continuity of a debtor’s business. See id. (payment of creditors’ claims authorized under “necessity

of payment” doctrine); In re Penn Central Transp. Co., 467 F.2d 100, 102 n.1 (3d Cir. 1972)

(holding that the necessity of payment doctrine permits “immediate payment of claims of creditors

where those creditors will not supply services or materials essential to the conduct of the business

until their pre- reorganization claims have been paid”); In re Just For Feet Inc., 242 B.R. 821, 824

(D. Del. 1999) (recognizing “the court’s power to authorize payment of pre-petition claims when

such payment is necessary for the debtor’s survival during chapter 11”); In re Columbia Gas Sys.,

Inc., 171 B.R. 189, 191-92 (Bankr. D. Del. 1994) (noting that the debtors “may pay pre-petition

claims that are essential to continued operation of business”); Ionosphere Clubs, 98 B.R. at 176

(necessity of payment rule applies to chapter 11 debtors) (citing Dudley v. Mealey, 147 F.2d 268

(2d Cir.), cert. denied, 315 U.S. 873 (1945)).

               23.     Although the “doctrine of necessity” predates the Bankruptcy Code, see

Miltenberger v. Logansport Ry. Co., 106 U.S. 286, 309 (1882), the modern application of the

doctrine of necessity is grounded in specific provisions of the Bankruptcy Code, including sections

105(a), 1107(a) and 1108. See In re CoServ, L.L.C., 273 B.R. 487, 497 (Bankr. N.D. Tex. 2002)

(fiduciary duties implicit in section 1107(a) of the Bankruptcy Code justify the “preplan

satisfaction of a prepetition claim” where necessary to preserve going-concern value). The

doctrine, largely unchanged from the Court’s reasoning in Miltenberger, is a widely accepted

component of bankruptcy jurisprudence. See In re Just for Feet, Inc., 242 B.R. at 826 (approving

payment of key inventory suppliers’ prepetition claims when such suppliers could destroy the


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debtor’s business by refusing to deliver new inventory on the eve of debtor’s key sales season);

Mich. Bureau of Workers’ Disability Comp. v. Chateaugay Corp. (In re Chateaugay Corp.), 80

B.R. 279, 285-86 (Bankr. S.D.N.Y. 1987) (affirming order authorizing payment of prepetition

wages, salaries, expenses and benefits); In re Payless Cashways, Inc., 268 B.R. 543, 546-47

(Bankr. W.D. Mo. 2001) (authorizing payment of critical prepetition suppliers’ claims when such

suppliers agreed to provide postpetition trade credit).

               24.     Continuing to administer the Customer Programs without interruption

during the pendency of these Chapter 11 Cases will help preserve the Debtors’ valuable customer

relationships and goodwill, which will inure to the benefit of all creditors and stakeholders in the

form of ongoing customer purchases. In addition, the Customer Programs constitute an important

part of the Debtors’ business and strategy. As mentioned, the Customer Programs are standard

practice in the solar energy installation industry. Given the competitive nature of the Debtors’

industry, the Debtors’ success and the realization of maximized value depends on the quality and

strength of their Customer relationships, their ability to attract new customers during these Chapter

11 Cases, and the maintenance and sustainment of their current business relationships. Any failure

to honor their Customer Programs may disrupt the Debtors’ ability to make similar sales

postpetition, and, as a result, could curb the Debtors’ profitability and negatively impact the

Debtors’ chapter 11 plans.

               25.     Further, the Debtors’ ability to attract new Customers and maintain their

existing Customer relationships during these Chapter 11 Cases is critical to maximizing the estate’s

value. The commencement of these Chapter 11 Cases, and the circumstances surrounding them,

will undoubtedly create apprehension on the part of Customers or potential Customers regarding

their willingness to purchase solar products from the Debtors. As previously discussed, the


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damage that would result if the Debtors failed to honor their prepetition Customer Programs

significantly outweighs any arguable harm to the Debtors’ estates if such obligations are honored.

               26.     Courts in this District routinely authorize the continuation of customer

programs. See, e.g., In re Number Holdings, Inc. et al., Case No. 24-10719 (JKS) [D.I. 120]

(Bankr. D. Del. April 10, 2024); In re PARTS iD Inc., et al., Case No. 23-12098 (LSS) [D.I. 87]

(Bankr. D. Del. Jan 12, 2024); In re Unconditional Love Inc., et al., Case No. 23-11759 (MFW)

[D.I. 133] (Bankr. D. Del. Nov. 18, 2023); In re AeroFarms, Inc., et al., Case No. 23-10737 (MFW)

[D.I. 96] (Bankr. D. Del. June 29, 2023); In re Fast Radius Inc., et al., Case No. 22-11051 (JKS)

[D.I. 138] (Bankr. D. Del. Dec. 6, 2022); In re APC Auto. Techs. Intermediate Holdings, LLC, et

al., Case No. 20-11466 (CSS) [D.I. 125] (Bankr. D. Del. June 23, 2020); In re Achaogen, Inc.,

Case No. 19-10844 (BLS) [D.I. 49] (Bankr. D. Del. April 16, 2019).

               27.     Moreover, the nonpayment of the Customer Programs on a postpetition

basis will adversely impact the Debtors’ goodwill and going-concern value. See In re CoServ, 273

B.R. at 497. Further, the Debtors have determined, in the sound exercise of their business

judgment, that maintaining the Customer Programs, including payment of any amounts due

thereunder in the ordinary course of business is critical to the success of these Chapter 11 Cases.

Continuing the Customer Programs and payment of amounts due thereunder, the importance of

which cannot be overstated, without interruption will help preserve the Debtors’ valuable

Customer relationships and goodwill, which will inure to the benefit of all of the Debtors’ creditors

and stakeholders.

        THE REQUIREMENTS OF BANKRUPTCY RULE 6003 ARE SATISFIED

               28.     In order for a debtor to obtain relief to make payments within 21 days of the

Petition Date, it must establish that making such payments satisfies the requirements mandated by

Bankruptcy Rule 6003—namely, the relief requested is necessary to avoid “immediate and
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irreparable harm.” If a debtor’s prospect of reorganizing is threatened, or swift diminution in value

of the debtor’s estate is likely absent the granting of the requested relief, immediate and irreparable

harm likely exists. See In re WorldSpace, Inc., 2008 WL 8153639, at *2 (Bankr. D. Del. Oct. 20,

2008) (finding that relief requested by the debtors was necessary to avoid irreparable harm to the

debtors and their estates because such relief was essential for the continued operation of the

debtors’ businesses).

               29.      Immediate and irreparable harm would result if the relief requested herein

is not granted. A failure to honor the Customer Obligations would significantly damage customer

satisfaction and goodwill, and diminish the Debtors’ ability to effectively conduct their businesses.

These effects would have an adverse impact on the Debtors’ businesses, thereby causing

immediate and irreparable harm. Failure to receive the requested relief during the first 21 days of

these Chapter 11Ccases would severely disrupt the Debtors’ operations at this important juncture.

For the reasons discussed herein, the relief requested is necessary for the Debtors to operate their

businesses in the ordinary course and preserve the value of the Debtors’ assets and maximize the

value of the estates for the benefit of all stakeholders. Accordingly, the Debtors respectfully

submit that it has satisfied Bankruptcy Rule 6003 as it relates to the relief requested herein.

                 WAIVER OF BANKRUPTCY RULES 6004(a) AND 6004(h)

               30.      Given the nature of the relief requested herein, the Debtors respectfully

request a waiver of (a) the notice requirements under Bankruptcy Rule 6004(a) and (b) the 14- day

stay under Bankruptcy Rule 6004(h).            Pursuant to Bankruptcy Rule 6004(h), “[a]n order

authorizing the use, sale, or lease of property other than cash collateral is stayed until expiration

of 14 days after entry of the order, unless the court orders otherwise.” For the reasons described

above, the relief requested is essential to prevent potentially irreparable damage to the Debtors’

operations, value and ability to reorganize.
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                                  RESERVATION OF RIGHTS

                31.      Nothing contained herein is intended or shall be construed as: (i) an

admission as to the validity, amount or priority of any claim against the Debtors; (ii) a waiver of

the Debtors’ rights to dispute any claim; (iii) a promise or requirement to pay any claim; (iv) a

waiver of any claim or cause of action of the Debtors that exists against any entity; (v) a ratification

or assumption of any agreement, contract or lease under section 365 of the Bankruptcy Code; (vi)

a waiver of limitation of the Debtors’ rights under the Bankruptcy Code, any other applicable law,

or any agreement; or (vii) an admission or concession by the Debtors that any lien acknowledged

or satisfied under this Motion is valid, and the Debtors expressly reserve and preserve their rights

to contest the extent, validity, or perfection, or seek avoidance of, any such lien.

                                               NOTICE

                32.      Notice of this Motion will be provided to: (a) the Office of the United States

Trustee   (Attn:      Joseph   Cudia,   Esq.   (joseph.cudia@usdoj.gov)       and   Fang    Bu,    Esq.

(fang.bu@usdoj.gov)); (b) counsel to the Debtors’ proposed debtor in possession financing lender;

(c) the Internal Revenue Service; (d) the parties included on the Debtors’ consolidated list of their

30 largest unsecured creditors; (e) the United States Attorney for the District of Delaware; (f) the

state attorneys general in states where the Debtors are authorized to do business; (g) the Securities

and Exchange Commission; and (h) all parties entitled to notice pursuant to Bankruptcy Rule 2002-

1. As this Motion is seeking first-day relief, the Debtors will serve copies of this Motion and any

order entered in respect of this Motion as required by Local Rule 9013-1(m). The Debtors

respectfully submit that no further notice of this Motion is required under the circumstances.




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                                         CONCLUSION

               WHEREFORE, for the reasons set forth herein, the Debtors respectfully request

that the Court (a) enter the Interim Order, substantially in the form attached hereto as Exhibit A,

(b) enter the Final Order, substantially in the form attached hereto as Exhibit B, and (c) grant such

other and further relief as the Court may deem just and appropriate.



Dated: September 3, 2024                  Respectfully submitted,
Wilmington, Delaware
                                          MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                          /s/ Robert J. Dehney, Sr.
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                                          Proposed Counsel to the Debtors and
                                          Debtors in Possession




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